
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date May S, 1965.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads its to conclude that there has been no deviation from the essential requirements of law. The petition is therefore denied.
The petition of Harley Worthington, respondent, for attorneys’ fees in this Court is denied.
It is so ordered.
THOMAS, Acting C. J., and ROBERTS, DREW, O’CONNELL and CALDWELL,. JJ., concur.
